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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


FREDKIEY HURLEY, individually,
                                                    Case No. ________________
                          Plaintiff,
v.

LA LUCHA LLC d/b/a LA LUCHA,
a New York for profit limited liability
company and 215 AVENUE B
REALTY LLC a New York for profit
limited liability company,

               Defendants.
_________________________________

                 COMPLAINT FOR VIOLATIONS OF ADA

      Plaintiff, FREDKIEY HURLEY, by and through the undersigned counsel,

and in accordance with the Federal Rules of Civil Procedure and all other applicable

statutes, rules, governing legal authorities, and advisory opinions files the instant

Complaint against Defendants 215 AVENUE B REALTY LLC and LA LUCHA

LLC d/b/a LA LUCHA for violations of the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. and the Florida Accessibility Code.

I.    General Allegations Establishing Jurisdiction

1.    Plaintiff FREDKIEY HURLEY is an individual with a disability as defined

      by the ADA.


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2.   Plaintiff FREDKIEY HURLEY is seeking injunctive relief pursuant to the

     Americans with Disabilities Act (hereinafter “ADA”), which entitles Plaintiff

     to all attorneys’ fees, litigation expenses and costs incurred in pursuing an

     action to enforce and obtain compliance with provisions of the ADA in

     accordance with 28 U.S.C. § 12181 et seq.

3.   Notice prior to initiating suit is not mandated by the ADA. All other

     conditions precedent to filing suit are satisfied or are waived by Defendants

     as their violations have been ongoing since January 26, 1992 (or January 26,

     1993).

4.   This Court has original jurisdiction over claims arising under Title III of the

     Americans with Disabilities Act (see 42 U.S.C. § 12181 et seq.; 28 U.S.C. §§

     2201-2202) pursuant to 28 U.S.C. §§ 1331 and 1343.

5.   The property at issue is located in New York County, New York at 147 Ave

     A in New York County, New York (hereinafter “Property”). Defendant 215

     AVENUE B REALTY LLC is the documented owner of the Property.

6.   The Property is being operated as a food service establishment – a “place of

     public accommodation (see 28 CFR 36.201(a))” – by Defendant LA LUCHA

     LLC d/b/a LA LUCHA (hereinafter “LA LUCHA”), who is a tenant on

     Defendant 215 AVENUE B REALTY LLC’s Property.




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7.    Venue properly lies in the Southern District of New York as it is the federal

      judicial district which the property is located and on which the violative

      establishment is conducting business.

II.   Plaintiff Hurley

8.    Plaintiff HURLEY is permanently disabled and confined to a wheelchair. He

      suffers from a relatively rare genetic developmental congenital disorder that

      he contracted at birth – spina bifida cystica with myelomeningocele – causing

      him severe and debilitating paralysis. There is currently no known, affordable

      cure available.

9.    Plaintiff HURLEY resides in Manhattan, New York along with most of his

      family, all of whom able able-bodied individuals and provide him with

      assistance. His siblings live in upper Manhattan and his grandmother lives in

      Brooklyn.

10.   Plaintiff HURLEY is the only member of his immediate family to have

      contracted spina bifida.

11.   As a young twenty-six (26) year old single man, Plaintiff HURLEY often goes

      out with his friends to socialize and meet new and interesting people.

12.   He commutes principally using the MTA/New York City Transit Bus System

      although he travels to many places locally using only his wheelchair.




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13.    When Plaintiff HURLEY was visiting LA LUCHA he encountered

       architectural barriers at the Property precluding his from reasonably accessing

       the goods and services provided to non-disabled individuals. These barriers to

       access at the Property have deterred Plaintiff from availing himself of, and are

       denying his the opportunity to participate and benefit from the goods, services,

       privileges, advantages, facilities and accommodations at LA LUCHA equal

       to those afforded to other individuals.

III.   ADA Prohibits Barriers Impeding Access By Disabled Individuals

14.    The ADA prohibits discrimination on the basis of disability. The Act

       guarantees reasonable accommodations for individuals with disabilities to

       ensure they are not the subject of discrimination.

15.    The ADA and the 2004 ADA/ABA Accessibility Guidelines for Buildings

       and Facilities (36 CFR Part 1191, Appendices B and C) along with 28 CFR

       Part 36, Subpart D, the New Construction and Alterations portion of Title III

       (all hereinafter referred to as the "2010 Standards” or “Accessibility

       Standards”) dictate that property owners as well as operators of “commercial

       establishments” are jointly responsible complying with these federal

       Accessibility Standards.

16.    Defendants have and are continuing to violate the Accessibility Standards –

       discriminating against Plaintiff and other similarly situated disabled


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      individuals – by failing to provide accessible facilities since January 26, 1992

      (or, alternatively, January 26, 2993).

17.   As a result of Defendants ongoing non-compliance, Plaintiff HURLEY is

      being deprived of the meaningful choice of freely visiting the same

      accommodations readily available to the general public. Consequently,

      Plaintiff is effectively deterred and discouraged from further travel due to

      these ADA problems.

IV.   LA LUCHA

18.   The present violations at Defendants’ facility threaten Plaintiff’s safety as

      they create hazards impeding access.

19.   The violations also infringe upon Plaintiff’s right to travel free of

      discrimination causing Plaintiff harm in the form of suffering frustration,

      shame and humiliation.

20.   A preliminary inspection of LA LUCHA reveals the following exterior and

      interior barriers to access by Plaintiff as an individual who is confined to a

      wheelchair:


      a.    Entrance inaccessible due to barrier to access in form of step without

            ramp as required by Accessibility Standards;

      b.    Required minimum maneuvering clearance not provided at entrance

            door in violation of Accessibility Standards;

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c.   Weight of entrance door exceeds maximum pull weight permitted by

     Accessibility Standards;

d.   Existing service counter exceeds maximum height allowance making

     it inaccessible;

e.   Required knee and toe clearance not provided at service counter in

     violation of Accessibility Standards;

f.   Existing ATM improperly positioned in violation of Accessibility

     Designation Standards;

g.   Existing dining tables are inaccessible as required minimum clear

     floor space allowing for a forward approach not provided;

h.   Required knee and toe clearance not provided at dining tables in

     violation of Accessibility Standards;

i.   Accessible path of travel to restroom not provided in violation of

     Accessibility Standards;

j.   Required accessible restroom not provided in violation of

     Accessibility Standards;

k.   Existing restroom door hardware violates Accessibility Designation

     Standards;




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l.   Light switch, soap dispenser and mirror are improperly positioned in

     violation of Accessibility Designation Standards making them

     inaccessible;

m.   Required minimum maneuvering clearance not provided at in corridor

     at exterior of restroom door in violation of Accessibility Standards;

n.   Required minimum clear width not provided at restroom door opening

     making restroom inaccessible;

o.   Required grab bars not provided at rear and side walls of water closet;

p.   Water closet flush control improperly positioned in violation of

     Accessibility Standards making them inaccessible;

q.   Restroom compartment inaccessible;

r.   Required minimum turning space not provided in restroom in

     violation of Accessibility Standards;

s.   Required minimum clear width not provided at path of travel to water

     closet in violation of Accessibility Standards;

t.   Required minimum clear floor space not provided at water closet

     making it inaccessible;

u.   Water closet improperly positioned in violation of Accessibility

     Designation Standards;




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      v.    Required minimum clear floor space not provided at lavatory in

            violation of Accessibility Standards;

      w.    failure to maintain accessible features and failing to advise to policies,

            practices and procedures to ensure that the goods and services being

            offered, as well as the facilities themselves, are accessible to people

            with disabilities.


21.   The above-listed discriminatory violations are not an exhaustive list of all

      ADA violations on the property. Plaintiff requires an inspection of

      Defendants’ place of public accommodation in order to identify, photograph

      and measure all of the barriers to access that constitute discriminatory acts in

      violation of the ADA.

22.   Plaintiff plans on returning to LA LUCHA to avail himself of the good and

      services offered to the public thereon, and to determine whether the property

      has been made ADA compliant.

23.   As the violations at Defendants’ facility are ongoing, it would be a futile

      gesture for Plaintiff to return to the property so long as the above listed

      violations exist. Plaintiff returning to the property prior to all above violations

      being remedied will only further subject Plaintiff to discrimination and

      threaten Plaintiff’s physical safety and well-being.



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COUNT I: DECLARATORY JUDGMENT

24.   When Plaintiff HURLEY visited LA LUCHA he could not reasonably access

      the goods and services otherwise available to able bodied individuals due to

      architectural barriers and other ADA violations (see 42 USC § 12181 et seq.

      and 28 CFR 36.302 et seq.) set forth herein in paragraph 20.

25.   The Accessibility Standards, in particular Title III of the ADA, require all

      places of public accommodation to provide any person with a disability equal

      access to the goods and services being offered to non-disabled individuals.

26.   Defendants denied Plaintiff reasonable access to the good and/or services

      being offered on their premises in violation of Title III of the ADA thus

      causing Plaintiff to retain the undersigned law firm to enforce his rights.

27.   As a result of Defendants continuously violating of Title III of the ADA

      Plaintiff HURLEY has and is suffering actual harm in the form of personal

      injury, and humiliation including a sense of isolation and segregation, all of

      which are depriving Plaintiff of the full, fair and equal enjoyment of the goods,

      services, facilities, privileges and/or accommodations available to the general

      public.

28.   A declaration that Defendant(s) were in violation of the ADA at the time

      Plaintiff suffered real and actual harm is necessary to ensure Plaintiff is




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      compensated for the attorneys’ fees expended to obtain Defendants(s)

      compliance with the law.

29.   The undersigned has been retained by Plaintiff to pursue Plaintiff’s rights as

      an individual suffering with a “disability” as defined by the ADA. Plaintiff is

      entitled to recover fair and reasonable attorneys’ fees, costs and litigation

      expenses from the Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR

      36.505.

      WHEREFORE, Plaintiff respectfully requests an order declaring Defendants

      (A) in violation of Title III of the ADA, 42 USC § 12181 et seq. at the time of

      Plaintiff’s visit; and ((B) as a result of architectural barriers Defendants have

      effectively denied Plaintiff, as an individual with a disability, reasonable

      access to the goods and/or services offered on the Property thereby

      discriminating against Plaintiff.

COUNT II: INJUNCTIVE RELIEF AGAINST LA LUCHA

30.   Plaintiff reasserts and incorporates the allegations set forth in paragraphs 1

      through 23 above as if set forth specifically herein.

31.   LA LUCHA is being operated as a place of public accommodation in violation

      of ADA.

32.   Plaintiff, and all other individuals similarly situated, have been denied access

      to and have been denied the benefits of services, programs and activities at


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      the Defendant’s establishment as a result of the ADA violations set forth

      herein in paragraph 20 in violation of 42 USC § 12181 et seq. and 28 CFR

      36.302 et seq..

33.   Defendant continues to discriminate against Plaintiff and those similarly

      situated by operating LA LUCHA and yet failing to make reasonable

      modifications in policies, practices and/or procedures to comply with the

      Accessibility Standards.

34.   Modifications in Defendant LA LUCHA’s practices, policies and procedures

      are necessary to afford all offered goods, services, facilities, privileges,

      advantages and/or accommodations to individuals with disabilities.

35.   Said modification are also necessary to ensure that no individual with a

      disability is excluded, denied services, segregated or otherwise treated

      differently than other individuals.

36.   Plaintiff is suffering true and actual harm by Defendant LA LUCHA operating

      a place of public accommodation. Defendant’s discriminatory practices create

      the potential for and/or cause Plaintiff physical harm and the contribute to

      Plaintiff’s sense of isolation and segregation thereby depriving Plaintiff of the

      full, fair and equal enjoyment of the goods, services, facilities, privileges

      and/or accommodations available to the general public.




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37.   Plaintiff, and all others similarly situated, have and will continue to suffer

      irreparable injury and damage without the immediate relief provided by the

      ADA and requested herein.

38.   Plaintiff is without any adequate remedy and law.

39.   The undersigned has been retained by Plaintiff and Plaintiff is entitled to

      recover fair and reasonable attorneys’ fees, costs and litigation expenses from

      the Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505 for having

      to employ the services of an attorney to gain Defendant’s compliance with the

      Accessibility Standards.

40.   Pursuant to 42 USC § 12188, this Court is empowered to order an injunction

      to remedy for Defendant’s ADA violations, including but not limited to

      issuing an order requiring Defendant to alter the subject property so as to make

      the facilities readily accessible and usable by Plaintiff and other persons with

      disabilities as defined by the ADA or by closing the facility until such time as

      Defendants cure all ADA violations.

      WHEREFORE, Plaintiff prays for and respectfully requests the Court order

      the following relief:

            a.     Injunctive relief against Defendant;

            b.     award reasonable attorneys’ fees, costs and litigation expenses in

                   accordance with 42 USC § 12205;


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            c.     any other relief this Court deems just and proper and/or is

                   otherwise allowable under Title II of the ADA.

COUNT III: INJUNCTIVE RELIEF AGAINST 215 AVENUE B REALTY
LLC

41.   Plaintiff reasserts and incorporates the allegations set forth in paragraphs 1

      through 23 above as if set forth specifically herein.

42.   Defendant 215 AVENUE B REALTY LLC is the documented owner of the

      Property on which Defendant LA LUCHA is operating a place of public

      accommodation violating the Accessibility Standards by permitting

      discriminatory treatment of persons confined to wheelchairs.

43.   Individuals confined to wheelchairs, including Plaintiff HURLEY have been

      denied access to and the benefits of services, programs and activities at the

      Defendant’s Property as a result of the ADA violations set forth herein in

      paragraph 20. See 42 USC § 12181 et seq. and 28 CFR 36.302 et seq.

44.   Defendant is continuing to discriminate against Plaintiff by failing to make

      reasonable modifications in the physical structure so as to permit compliance

      with Title III of the ADA.

45.   The structural impediments set forth in paragraph 18 must be remedied to

      eliminate the architectural barriers set forth herein, which remedies are

      necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals.
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46.   Permitting a place of public accommodation to operate in violation of the

      ADA is causing Plaintiff to suffer true and actual harm. The architectural

      barriers create the potential for and/or cause Plaintiff physical harm and the

      contribute to Plaintiff’s sense of isolation and segregation thereby depriving

      Plaintiff of the full, fair and equal enjoyment of the goods, services, facilities,

      privileges and/or accommodations available to the general public.

47.   Plaintiff has and will continue to suffer irreparable injury and damage without

      the immediate relief provided by the ADA and requested herein.

48.   Plaintiff is without any adequate remedy and law.

49.   The undersigned has been retained by Plaintiff and Plaintiff is entitled to

      recover fair and reasonable attorneys’ fees, costs and litigation expenses from

      the Defendants pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505 for having

      to employ the services of an attorney to gain Defendant’s compliance with the

      Accessibility Standards.

50.   Pursuant to 42 USC § 12188, this Court is empowered to order an injunction

      to remedy for Defendant’s ADA violations, including but not limited to

      issuing an order requiring Defendant to alter the subject property so as to make

      the facilities readily accessible and usable by Plaintiff and other persons with

      disabilities as defined by the ADA or by closing the facility until such time as

      Defendants cure all ADA violations.


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WHEREFORE, Plaintiff prays for and respectfully requests the Court order

the following relief:

      d.     Injunctive relief against Defendant;

      e.     award reasonable attorneys’ fees, costs and litigation expenses in

             accordance with 42 USC § 12205;

      f.     any other relief this Court deems just and proper and/or is

             otherwise allowable under Title II of the ADA.



      Respectfully submitted on May 19, 2015.

                    By:_/s/ Tara Demetriades
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